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         ORDERED in the Southern District of Florida on May 27, 2022.



                                                                        Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court
                                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF FLORIDA
                                            FORT LAUDERDALE DIVISION
                                                 www.flsb.uscourts.gov

         In re:

         DAYMARK REALTY ADVISORS, INC.,                                            CASE NO.: 18-23750-SMG
         DAYMARK PROPERTIES REALTY, INC.,                                          CASE NO.: 18-23752-SMG
         DAYMARK RESIDENTIAL MANAGEMENT,                                           CASE NO.: 18-23751-SMG
         INC.,                                                                     (substantively consolidated)

               Debtors.                                                            CHAPTER 7 CASE
         ______________________________________/

         ORDER (I) APPROVING SALE OF ASSETS PURSUANT TO TRUSTEE’S NOTICE OF
         SALE OF BANKRUPTCY ESTATE ASSETS AND (II) SUSTAINING OBJECTION TO
               TRUSTEE'S NOTICE OF SALE OF BANKRUPTCY ESTATE ASSETS

                    THIS MATTER came before the Court on May 18, 2022 at 9:30 a.m. upon the (i)

         Trustee’s Notice of Sale Bankruptcy Estate Assets Pursuant to F.R.B.P. 6004 and Local Rule 6004-

         1(D) [ECF No. 784] (the “Notice of Sale”)1 filed by Chad S. Paiva (the “Trustee”), as Chapter 7

         Trustee of the substantively consolidated bankruptcy estates of the Debtors, Daymark Realty

         Advisors, Inc., Daymark Residential Management, Inc. and Daymark Properties Realty, Inc.

         (collectively, the “Debtors”) and (ii) Objection to Trustee’s Notice of Sale of Bankruptcy Estate


         1
             All capitalized terms not otherwise defined herein shall have the same meaning ascribed to them in the Notice.
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Assets Pursuant to F.R.B.P.6004 and Local Rule 6004-1(D) [ECF No. 785] (the “Objection”) filed

by Dennis Dierenfield, individually and in his capacity as trustee of the Dennis Dierenfield Living

Trust (“Dierenfield”). The Court, having considered the Notice of Sale and Objection, hearing the

proffer of counsel for the Trustee that the competing bid submitted by Dierenfield for the Assets

as set forth in the Objection in the amount of $15,000.00 (the “Competing Bid”), which has been

paid into the trust account of Trustee’s counsel, Genovese Joblove & Batista, P.A. (“GJB”), is the

better and higher offer and that no further competitive bids or objections have been filed with Court

or received by the Trustee pursuant to the Notice of Sale, and being otherwise advised in the

premises, it is,

        ORDERED, as follows:

        1.         The Notice of Sale is hereby approved as provided in this Order.

        2.         The Objection filed by Dierenfield to Notice of Sale is hereby sustained.

        3.         The Court finds that Competing Bid submitted by Dierenfield for the Assets is the

better and higher offer and, therefore, approves the sale of the Assets to Dierenfield as described

in the Notice of Sale, as follows:

        Causes of action including, among others, breach of contract, indemnity, sounding
        in tort equity including, not limited to, claims against Dennis Dierenfield,
        individually and as trustee of the Dennis Dierenfield Living Trust”

        Nature of claim per schedules; Breach of Contract
        Amount Requested per schedules: $200,000.00
        Current Value of Debtor’s interest per schedules: $0.00/Unknown

        The Asset is disclosed in the Schedules of the Consolidated Debtor, as follows: (i)
        Daymark Realty Advisors, Inc., Case No. 18-23750-SMG; ECF No. 1-Schedule
        A/B, Part 11, Question 74; (ii) Daymark Residential Management, Inc., Case No.
        18-23751-SMG; ECF No. 1-Schedule A/B, Part 11, Question 74: and (iii) Daymark
        Properties Realty, Inc., Case No. 18-23752-SMG; ECF No. 1-Schedule A/B, Part
        11, Question 74,

        The Asset also includes, without limitation all of the Estates claims, defenses, right,

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       title, and interest in or asserted by the Consolidated Debtors, DRA and DPR, in
       connection with (a) the state court lawsuits and arbitration proceedings entitled (i)
       Dennis Dierenfield et al. v. Todd A. Mikles et al., San Diego Superior Court Case
       Number 37-2016-00018180; (ii) Dennis Dierenfield et al. v Todd A. Mikles et al.,
       American Arbitration Association Case Number 01-17-0002-5456; and (iii) Todd
       A. Mikles et al. v. Dennis Dierenfield et al, San Diego Superior Court Case Number
       37-2018-00016403 (the “Dierenfield Litigation”); and (b) and claims, defenses,
       rights, title, and interest that may be asserted against Dennis Dierenfield for
       damages for indemnification arising from and/or related to the Dierenfield
       Litigation and Proof of Claim No. 36 filed by Western Alliance Bank against the
       Estates (“Assets”).

       4.      Further, the Court directs that the funds representing the Competing Bid deposited

by Dierenfield and held in the GJB trust account shall be released to the Trustee.

       5.      Accordingly, the Assets are sold to Dierenfield “As-is, Where-is”, and without any

warranty, representation, or guarantee, and is subject to all liens, setoffs, claims, counterclaims,

and encumbrances, if any, as provided in the Notice of Sale.

       6.      The Court retains jurisdiction to enforce the terms of this Order.

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Submitted by:

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[Attorney Gruher shall serve a copy of this Order to all interested parties and file a certificate of
service]




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